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UNITED STATES DISTFthT COUFIT
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v 04 20327 01 Ma WA') Or- i t§i»§§t{fg§mr
MlCHAEL TODD COCHRAN

Needum Louis Germany, llll FPD
Defense Attorney
200 Jefferson Avenue, Suite 200

Memphis, Tennessee 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Of'fenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 , 2 and 4 of the indictment on Apri| 18, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Title & Section Nature of Offense Concluded Numbe;|s[
21 U.S.C. § 841(a)(1) Possession with intent to distribute 04/15/2004 1
methamphetamine
21 U.S.C. § 843(a)(6) Possession of equipment, chemica|s, 04/15/2004 2
products and materials used in the
production of methamphetamine
18 U.S.C. § 922(g) Felon in possession of a firearm 04/15/2004 4

The defendant is sentenced as provided in the following pages of thisjudgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory Victims Restitution Act
of 1 996.

Count 3 is dismissed on the motion of the United States.

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs and special
assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant’s Date of Birth: 03/31/1969 July 29, 2005
Deft's U.S. Marshal No.: 19826-076

Defendant’s Mai|ing Address:
4132 Mt. Carme| Fioad w
Covington, TN 38019

SAN|UEL H. lVlAYS, JFt.
UN|TED STATES D|STR|CT JUDGE

§

August , 2005

This doct.ment entered on the clock
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with R.rle 55 andfor 321!3} FRCrP on -U ~SL/

 

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Case No: 04-20327-01-Ma
Defendant Name: Michael Todd Cochran Page 2 of 5

lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of forty-six (46) months.

The Court recommends to the Bureau of Prisons:

That defendant be designated to serve his term of imprisonment at a facility closest
to Covington, Tennessee.

That defendant participate in the 500 hour drug rehabilitation program

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MAFtSHAL
By:

 

Deputy U.S. Marsha|

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Case No: 04-20327-01-Ma
Defendant Name: Michael Todd Cochran Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of six (6) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|TIONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, usedl
distributed, or administered;

B. The defendant shall not associate with any persons engaged in criminal activityl and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Defendant Name: Michae| Todd Cochran Page 4 of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirementl

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing for the detection of substance use or abuse. Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

2. The defendant shall participate as directed in a program of mental health treatment
approved by the Probation Officer. Further, the defendant shall be required to contribute to
the costs of services for such treatment not to exceed an amount determined reasonable
by the Probation Officer based on ability to pay or availability of third party payment and in
conformance with the Probation Office’s S|iding Scale for Mental Health Treatment Services.

3. The defendant shall seek and maintain lawful full-time employment

4. The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

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Defendant Name: Michael Todd Cochran Page 5 of 5

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Tota| Restitution
$300.00

The Special Assessment shall be due immediately

F|NE
No fine imposed

REST|TUT|ON
No Ftestitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:04-CR-20327 Was distributed by faX, mail, or direct printing on
August 1], 2005 to the parties listed.

 

 

Robert C. Irby

LAW OFFICE OF ROBERT C. IRBY
4345 E. Mallory

Memphis7 TN 38111

Needum Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

